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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

JOEL GIROIR, on behalf of himself and all
similarly situated individuals,

Plaintiff,
                                                     CIVIL ACTION NO. 3:21-cv-108-JWD-SDJ
v.

JAMES LEBLANC, in his official capacity as
Secretary of the Louisiana Department of
Public Safety & Corrections; and
THE LOUISIANA DEPARTMENT OF
PUBLIC SAFETY & CORRECTIONS,

Defendants.


                   PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

         COMES NOW, Plaintiff in the above-captioned matter, by and through undersigned

counsel, following a class certification discovery period, and moves this Court to grant Plaintiff’s

motion to certify a class defined as: all persons who have been, or will be, sentenced to the custody

of the DOC, and who were, or will be, entitled to release at the time of their sentencing, but who

nevertheless remain in custody, now or in the future, for more than 48 hours past their sentencing

dates.

         In support of this motion, Plaintiff relies upon the accompanying memorandum.

Respectfully submitted this 10th day of September, 2021.

                                                      /s/ Mercedes Montagnes

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                                                      Nishi Kumar, La. Bar No. 37415
                                                      Rebecca Ramaswamy, La. Bar No. 39524
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                                                   Attorneys for Plaintiff



                               CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to all

CM/ECF participants.



Dated: September 10, 2021                                            /s/ Rebecca Ramaswamy
                                                                     Rebecca Ramaswamy
                                                                     Attorney, La. Bar No. 39524




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